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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA — TAMPA DIVISION

CASE NO. 8:18-bk-06229-RCT
CHAPTER 13
IN RE:

Richard J. Dannenmiller
aka Rick J. Dannenmiller
aka Rick Dannenmiller,

Debtor
/

U.S. BANK NA’S MOTION FOR ORDER
CONFIRMING TERMINATION OF AUTOMATIC STAY

 

 

NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
notice or hearing unless a party in interest files a response within 21 days from the date set forth on the
attached proof of service, plus an additional three days for service if any part was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
George C. Young Federal Courthouse, 400 West Washington Street, Suite 5100, Orlando, Florida 32801, and
serve a copy on the movant’s attorney, Marc G. Granger, Esq., at Kahane & Associates, P.A., 8201 Peters
Road, Ste 3000, Plantation, FL 33324, and any other appropriate persons within the time allowed. If you file
and serve a response within the time permitted, the Court will either schedule and notify you of a hearing, or
consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do not oppose the

relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
grant the relief requested.

COMES NOW, U.S. Bank NA, successor trustee to Bank of America, NA, successor in
interest to LaSalle Bank NA, as trustee, on behalf of the holders of the Washington Mutual
Mortgage Pass-Through Certificates, WMALT Series 2007-2, its Successors and/or Assigns
(“Secured Creditor’), by and through its undersigned counsel, as and for its Motion for Order

Confirming Termination of Automatic Stay, and in support thereof states:

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V8.20170818

 
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1. The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP
4001(a) and the various other applicable provisions of the United States Bankruptcy Code,
Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

2. The Debtor listed above (the “Debtor”) filed a voluntary petition pursuant to
Chapter 13 of the Bankruptcy Code on July 27, 2018.

3. Secured Creditor holds a security interest in the Debtor’s real property located at
2583 Saturn Rd, Brooksville, Florida 34604, by virtue of a Mortgage dated November 17,
2006, which was recorded in the Public Records of Hernando County, Florida, on November 28,
2006, under Instrument No. 2006092848. Said Mortgage secures a Note in the amount of
$440,000.00

4. Section 5(j) of Debtor’s Chapter 13 Plan (Doc. No. 17), filed on August 21, 2018,
references Secured Creditor’s predecessor in interest, Chase Bank, and indicates Debtor’s intent
to surrender the subject real property.

5. The language of the aforementioned Section 5(j) states, inter alia, that “[t]he
automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in
rem and in personam as to any codebtor as to these creditors upon the filing of this Plan.”

6. Secured Creditor U.S. Bank NA, successor trustee to Bank of America, NA,
successor in interest to LaSalle Bank NA, as trustee, on behalf of the holders of the Washington
Mutual Mortgage Pass-Through Certificates, WMALT Series 2007-2, is the successor in interest
to Chase Bank, the holder of the abovementioned claim/interest, and hereby seeks entry of an

Order Confirming Termination of Automatic Stay with respect to same.

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WHEREFORE, Secured Creditor respectfully requests that the Court grant Secured Creditor’s

Motion for Order Confirming Termination of Automatic Stay, and for such other and further

relief as the Court may deem just and proper.

I HEREBY CERTIFY that a true and correct copy of the Motion for Order Confirming

Termination of Automatic Stay was delivered to the addressees on the attached mailing list by

First Class U. S. Mail postage pre-paid and/or by Electronic Filing this [3 day of Sa ;

2018.

File No.: 18-02013 SPS
V8.20170818

Respectfully Submitted,

Kahane & Associates, P.A.
8201 Peters Road, Suite 3000
Plantation, Florida 33324
Telephone: (954) 382-3486
Telefacsimile: (95 2-5380

 
 
 
   

By: Z
) Mare G/Granger, Esq., Fla. Bar No.: 146870
O Grég¢ S. Ahrens, Esq., Fla. Bar No.: 352837
0 Taji Foreman, Esq., Fla. Bar No.: 58606

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

 

filed and/or mailed by U.S. Mail to all parties listed below this /[ 3 day of Jig fa bo

2018.

Richard J. Dannenmiller
325 33rd Ave NE
Saint Petersburg, FL 33704

Marshall G Reissman, Esq.
The Reissman Law Group
5150 Central Ave

St. Petersburg, FL 33707

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Kelly Remick, Trustee
Chapter 13 Standing Trustee
Post Office Box 6099

Sun City, FL 33571

U.S. Trustee

United States Trustee - TPA7/13, 7
Timberlake Annex, Suite 1200

501 E Polk Street

Tampa, FL 33602

Respectfully Submitted,

Kahane & Associates, P.A.

8201 Peters Road, Suite 3000
Plantation, Florida 33324
Telephone: (954) 3824486

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By:
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